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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
Chapter 7

513 CENTRAL PARK LLC, Case No.

Debtor.

 

CORPORATE OWNERSHIP STATEMENT

In accordance with Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure and
Rule 1073-3 of the Local Rules of Bankruptcy Procedure for the Eastern District of New York,
513 Central Park LLC (the "Debtor") the above-captioned Debtor and Debtor in
possession, hereby states that there are no corporate equity holders of the Debtor holding 10%
or more of the issued and outstanding shares of any class of the Debtor's equity interests.

In addition, (a) the Debtor does not own (directly or indirectly) 10% or more of any class
of a corporation's publicly traded equity interests, (b) the Debtor does not own an interest in any
limited partnership, (c) the Debtor does not own an interest in any general partnership, (d) The
Debtor does not own an interest in any corporations or limited liability companies.

Pursuant to 28 U.S.C. §1746, |, the undersigned Managing Member of the Debtor,
declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief with reliance upon appropriate corporate officers.
Dated: June 6, 2014 513 CENTRAL PARK LLC

EvéWinston
Managing Member
